Case 1:25-cv-21524-KMW Document 100 Entered on FLSD Docket 07/15/2025 Page 1 of 3




                   UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF FLORIDA

    FLORIDA IMMIGRANT COALITION, et al.,
                 Plaintiffs,
          v.                                           No. 1:25-cv-21524-KMW
    JAMES UTHMEIER, in his official capacity
    as Attorney General for the State of
    Florida, et al.,
                 Defendants.

        FLORIDA ATTORNEY GENERAL’S BIWEEKLY STATUS REPORT

         The Attorney General of Florida James Uthmeier, in compliance with this

   Court’s order requiring biweekly status reports on “any arrests, detentions, or law

   enforcement actions pursuant to S.B. 4-C,” DE96 at 26, states:

         The Attorney General is not aware of any arrests under SB 4-C since the

   Court’s order on April 18, 2025, that have not been disclosed in prior status reports.
Case 1:25-cv-21524-KMW Document 100 Entered on FLSD Docket 07/15/2025 Page 2 of 3




                               Respectfully submitted on July 15, 2025.

                               JAMES UTHMEIER
                                Attorney General

                               /s/ Robert S. Schenck
                               JEFFREY P. DESOUSA (FBN 110951)
                                 Acting Solicitor General
                               NATHAN A. FORRESTER (FBN 1045107)
                                 Chief Deputy Solicitor General
                               ROBERT S. SCHENCK (FBN 1044532)
                               CHRISTINE PRATT (FBN 100351)
                                 Assistant Solicitors General
                               OFFICE OF THE ATTORNEY GENERAL
                               The Capitol, PL-01
                               Tallahassee, FL 32399
                               Phone: (850) 414-3300
                               Facsimile: (850) 410-2672
                               jeffrey.desousa@myfloridalegal.com
                               nathan.forrester@myfloridalegal.com
                               robert.schenck@myfloridalegal.com
                               christine.pratt@myfloridalegal.com

                               Counsel for Defendants




                                       2
Case 1:25-cv-21524-KMW Document 100 Entered on FLSD Docket 07/15/2025 Page 3 of 3




                             CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been furnished

   by electronic service through the CM/ECF Portal on July 15, 2025, to all counsel of

   record.


                                                        /s/ Robert S. Schenck
                                                        Assistant Solicitor General




                                             3
